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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                    )
                                                             )                8:16CR173
                          Plaintiff,                         )
                                                             )
        vs.                                                  )                 ORDER
                                                             )
ALEJANDRA ALVAREZ-ROMERO,                                    )
ERWIN MUNOZ and                                              )
RAUL VAZQUEZ,                                                )
                                                             )
                          Defendants.                        )


        This matter is before the court on the motion for an extension of time by defendant Raul Vazquez
(Vazquez) (Filing No. 80). Vazquez seeks additional time in which to file pretrial motions in accordance with the
progression order. Vazquez's counsel represents that Vazquez will file an affidavit wherein he consents to the
motion and acknowledges he understands the additional time may be excludable time for the purposes of the
Speedy Trial Act. Vazquez's counsel represents that government's counsel has no objection to the motion.

Upon consideration, the motion will be granted, and the pretrial motion deadline will be extended as to all

defendants.


        IT IS ORDERED:

        Defendant Vazquez's motion for an extension of time (Filing No. 80) is granted. All defendants in this

matter are given until on or before December 16, 2016, in which to file pretrial motions pursuant to the
progression order. The ends of justice have been served by granting such motion and outweigh the interests
of the public and the defendants in a speedy trial. The additional time arising as a result of the granting of the

motion, i.e., the time between November 16, 2016, and December 16, 2016, shall be deemed excludable time
in any computation of time under the requirement of the Speedy Trial Act for the reason defendants' counsel
require additional time to adequately prepare the case, taking into consideration due diligence of counsel, and
the novelty and complexity of this case. The failure to grant additional time might result in a miscarriage of
justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
        DATED this 16th day of November, 2016.
                                                             BY THE COURT:
                                                             s/ Thomas D. Thalken
                                                             United States Magistrate Judge
